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      3.      I am familiar with the representations made by Mr. Callington and

others regarding the integrity of audits performed by UL and the resulting New York

Times article published in or around late December 2023.

      4.      I voluntarily spoke with Mr. Callington’s attorney about this and other

related topics on or about September 10, 2024, and June 5, 2025.

      5.      The main topic discussed during my first conversation with Mr.

Callington’s attorney was the inherent tension between audit integrity (i.e., factual

accuracy) and UL management’s emphasis on “customer satisfaction,” (i.e.,

retention).

      6.      As relayed in that interview, there were definitely situations where

changes were made to my audit reports, too. I would find out months later and they

would walk me through reasons. Sometimes the changes made sense, but other times

changes were made that did not make sense, on issues that were very black and

white. And it was clear, in those instances, that the changes had been made purely to

appease the client.

      7.
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      8.




      9.    Not all clients were that difficult, however. It’s a tense environment

when we go in to examine the facilities, because we’re asking for records and

scrutinizing things. But we also try to make sure they’re comfortable with what we

are doing, and most clients are not as combative. There were definitely some, more
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vocal and aggressive clients, where this sort of thing would happen more frequently

though.

      10.    In our more recent conversation, Mr. Callington’s attorney asked me

about how auditors were expected to store and access documents—and whether

anything about UL’s social compliance auditing protocol or process was markedly

different from my experience with other firms, or stands out as something that could

potentially be characterized as a trade secret.

      11.    With respect to the first topic, I explained, via email to Mr. Callington’s,

counsel that auditors routinely used cloud synching applications to access, store, and

share documents, as needed. As for Dropbox, specifically, I personally did not use

it—though I do recall that it was an option.

                                                     I do remember seeing something

about Dropbox being available for employees to use. The software could be installed

on our computers with management’s approval, as needed.

      12.    When asked whether anything was unique, different, or special about

UL’s approach to social compliance audits, I explained to Mr. Callington’s attorney

that the process is essentially the same across the board, irrespective of whether

performed by UL or any of its competitors (either way, we are basically just

inspecting the premises, reviewing records, and speaking to employees, to identify

compliance issues under applicable law and regulations). The Association of
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Professional Social Compliance Auditors (APSCA) also reinforces that

standardization across the industry.

       13.    Some clients

             have additional things that they want us to assess or other modifications

to a standard audit protocols, but that’s not specific to UL.

       14.    The “Client Operating Procedures” are also not especially unique to

UL; it’s just a set of client profiles                                         that all

of the social compliance auditing firms use and which are in substantially the same

format, across the industry.

       15.    I declare under penalty of perjury under the laws of the United States

that the foregoing is true and correct.



Executed on June 20, 2025
